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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

UNITED STATES OF AMERICA                 §
                                         §
                                         §
                                         §
VS.                                      §   CRIMINAL NO. H-09-296-3
                                         §
                                         §
AMANCIO ABURTO-GAMINO                    §


                                    ORDER

       The defendant Amancio Aburto-Gamino filed an unopposed motion for continuance

of the sentencing hearing. (Docket Entry No. 147). The motion for continuance is

GRANTED. The sentencing hearing is reset to November 9, 2010, at 9:00 a.m.


             SIGNED on November 1, 2010, at Houston, Texas.

                                        ______________________________________
                                                   Lee H. Rosenthal
                                              United States District Judge
